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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0009 TLN

12                                 Plaintiff,            STIPULATION AND ORDER VACATING TRIAL
                                                         CONFIRMATION HEARING AND TRIAL DATE,
13                            v.                         SETTING NEW DATES, AND EXCLUDING TIME
                                                         FROM THE SPEEDY TRIAL ACT
14   JUAN VILLANUEVA,

15
                                   Defendant.
16

17

18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney Jason Hitt,

19 counsel for the plaintiff United States of America, and defendant Juan Villanueva, by and through his

20 counsel Steven Teich, Esq., that the trial confirmation hearing currently set for April 2, 2020, at 9:30

21 p.m., and the trial date currently set for May 18, 2020, should be vacated, and a new trial confirmation

22 date set for September 3, 2020, at 9:30 a.m., and a new trial date of October 13, 2020, for the reasons

23 explained below. The parties further agree that time should be excluded from the Speedy Trial Act up to

24 and including the new trial date of October 13, 2020. This stipulation is made pursuant to the findings

25 proposed below, including the need for defense preparation and the this District’s General Order

26 Numbers 611 and 612.

27          On March 17, 2020, the Court issued General Order 611, which suspends all jury trials in the

28 Eastern District of California scheduled to commence before May 1, 2020. This General Order was


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 1 entered to address public health concerns related to COVID-19. On March 18, 2020, this Court issued

 2 General Order 612, which closed all courthouses of the United States District Court for the Eastern

 3 District of California shall be closed to the public and limited access to a narrow class of authorized

 4 persons.

 5           Although General Order 611 addresses the district-wide health concern, the Supreme Court has

 6 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 7 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 8 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 9 exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id.

10 at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

11 judge ordering and ends-of-justice continuance must set forth explicit findings on the record “either

12 orally or in writing”).

13           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

14 and inexcusable—the General Order requires specific supplementation. Ends-of-justice continuances

15 are excludable only if “the judge granted such continuance on the basis of his findings that the ends of

16 justice served by taking such action outweigh the best interest of the public and the defendant in a

17 speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets

18 forth, in the record of the case, either orally or in writing, its reason or finding that the ends of justice

19 served by the granting of such continuance outweigh the best interests of the public and the defendant in

20 a speedy trial.” Id.

21           General Order 611 excludes delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

22 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

23 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

24 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

25 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

26 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

27 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

28 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a


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 1 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

 2          In light of the societal context created by the foregoing, this Court should consider the following

 3 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 4 justice exception, § 3161(h)(7) (Local Code T4). If continued, this Court should designate a new date

 5 for the trial confirmation hearing of September 3, 2020, at 9:30 a.m. and a new trial date of October 13,

 6 2020. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial continuance must

 7 be “specifically limited in time”).

 8                                STIPULATION TO PROPOSED FINDINGS

 9          1.       By previous order, the Court set this matter for a trial confirmation hearing on April 2,

10 2020, and a trial date of May 18, 2020. Docket No. 106. The defendant is out of custody on conditions

11 of release. Docket No. 12.

12          2.       By this stipulation, the parties now move to vacate the trial confirmation hearing on April

13 2, 2020, and the trial date of May 18, 2020, and further move for a new trial confirmation hearing of

14 September 3, 2020, at 9:30 a.m. and a new trial date of October 13, 2020. The parties further move to

15 exclude time between April 2, 2020, and October 13, 2020, under Local Code T4.

16                   a)     The defense recently completed litigation on a series of discovery requests, with

17 additional discovery produced as a result of that motion practice. Defense counsel anticipates requesting

18 additional discovery and drafting additional motions before the new trial date.

19                   b)     The additional time between April 2, 2020, and October 13, 2020, will provide

20 counsel for the defendant time to review the discovery, conduct investigation and research related to the

21 charges, prepare pretrial motions, and prepare for the new trial date.

22                   c)     The United States believes that failure to grant the above-requested continuance

23 would deny the defendant the reasonable time necessary for effective preparation, taking into account

24 the exercise of due diligence.

25                   d)     In addition to the public health concerns cited by General Order 611 and

26 presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in this case

27 because the following factors are present.

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 1                          A trial confirmation hearing on April 2, 2020, and trial date of May 18, 2020,

 2                           would require the defendant and defense counsel to face a potential high-risk

 3                           environment for the defendant to be exposed to COVID-19.

 4                          Counsel and other relevant individuals have been encouraged to telework and

 5                           minimize personal contact to the greatest extent possible. It will be difficult to

 6                           avoid personal contact should the dates currently set proceed in this case because

 7                           of the large amount of personnel required to conduct a trial confirmation and trial

 8                           in this case, including Court staff, deputies from the United States Marshals

 9                           Service, and the lawyers who need to appear in this case.

10                  e)       Based on the above-stated findings, the ends of justice served by continuing the

11 case as requested outweigh the interest of the public and the defendant in a trial within the original date

12 prescribed by the Speedy Trial Act.

13                  f)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14 et seq., within which trial must commence, the time period of April 2, 2020, to October 13, 2020,

15 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

16 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

17 finding that the ends of justice served by taking such action outweigh the best interest of the public and

18 the defendants in a speedy trial.

19          Nothing in this stipulation and proposed order should preclude a finding that other provisions of

20 the Speedy Trial Act dictate that additional time periods are excludable from the period within which a

21 trial must commence.

22          The parties further stipulate that the ends of justice are served by the Court excluding time from

23 April 2, 2020, to October 13, 2020, so that counsel for the defendant may have reasonable time

24 necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C.

25 § 3161(h)(7)(B)(iv). Specifically, the defense agrees that it needs time to review discovery and

26 effectively evaluate the posture of the case, prepare additional pretrial motions, and conduct

27 investigation into any possible defenses she may have to the charges. Id.

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 1          For these reasons, the defendant, defense counsel, and the government stipulate and agree that

 2 the ends of justice outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C.

 3 § 3161(h)(7)(A); Local Code T4.

 4

 5 DATED: March 31, 2020                                                   /s/Jason Hitt
                                                                           JASON HITT
 6                                                                         Assistant U.S. Attorney
 7 DATED: March 31, 2020                                                   /s/Jason Hitt for Mr. Teich
                                                                           STEVEN TEICH, ESQ.
 8                                                                         Counsel for defendant
                                                                           Authorized to sign for Mr. Teich
 9                                                                         on March 30, 2020
10                                                  O R D E R

11          Based upon the representations by counsel and the stipulation of the parties, IT IS HEREBY

12 ORDERED that:

13          1.       The Court vacates the trial confirmation hearing of April 2, 2020, and trial date of May

14 18, 2020, based upon the joint motion and stipulation of the parties;

15          2.       The Court sets a new trial confirmation hearing date for September 3, 2020, at 9:30 a.m.,

16 and a new trial date of October 13, 2020, at 9:00 a.m.; and

17          3.       Based upon the representations and stipulation of the parties, the court finds that the time

18 exclusion under 18 U.S.C. § 3161(h)(7)(A) and Local Code T4 applies and the ends of justice outweigh

19 the best interest of the public and the defendant in a speedy trial based upon the factors set forth in 18

20 U.S.C. § 3161(h)(7)(B)(iv). Accordingly, time under the Speedy Trial Act shall be excluded up to and

21 including October 13, 2020.

22
            IT IS SO ORDERED.
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24 DATE: March 31, 2020
                                                                        Troy L. Nunley
25                                                                      United States District Judge
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      STIPULATION AND ORDER
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